Case: 4:07-cr-00050-HEA   Doc. #: 515 Filed: 04/04/08   Page: 1 of 6 PageID #:
                                    1693
Case: 4:07-cr-00050-HEA   Doc. #: 515 Filed: 04/04/08   Page: 2 of 6 PageID #:
                                    1694
Case: 4:07-cr-00050-HEA   Doc. #: 515 Filed: 04/04/08   Page: 3 of 6 PageID #:
                                    1695
Case: 4:07-cr-00050-HEA   Doc. #: 515 Filed: 04/04/08   Page: 4 of 6 PageID #:
                                    1696
Case: 4:07-cr-00050-HEA   Doc. #: 515 Filed: 04/04/08   Page: 5 of 6 PageID #:
                                    1697
Case: 4:07-cr-00050-HEA   Doc. #: 515 Filed: 04/04/08   Page: 6 of 6 PageID #:
                                    1698
